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                                                     May 25, 2017


       VIA ECF
       Hon. Joel Schneider, U.S.M.J.
       United States District Court
       District of New Jersey, Camden Vicinage
       Mitchell H. Cohen Building & U.S. Courthouse
       4th & Cooper Streets
       Camden, NJ 08101

                           RE:    Meyer v. Healthcare Revenue Recovery Group, LLC, et al.
                                  Docket No.: 1:16-cv-02454-NLH-JS
                                  Our File No.: 190-101622(SXK/CMS)

       Dear Judge Schneider:

               I write, with consent of all counsel, to request that the January 13, 2017 Scheduling Order
       (docket no. 35) be amended. In April, Mr. Miltz required additional time to serve his expert
       report, to which all counsel agreed. This in turn pushed backed the Defendants’ expert report
       deadline. Presently, the deposition of the Plaintiff’s expert is scheduled for June 7, and counsel
       are in the process of scheduling the deposition of HRRG’s expert.

                 In light of this, all counsel consent to the following amendments to the Scheduling Order:

                 ● Complete experts depositions by June 30, 2017;

                 ● File dispositive motions by July 30, 2017;

                 ● Plaintiff's portion of the joint final pretrial order is due on August 22, 2017;

                 ● Defendants’ portion of the joint final pretrial order is due on September 5, 2017;

                 ● The joint final pretrial order is due to the Court on September 6, 2017;




       {NJ753667.1}
            Philadelphia       Pittsburgh       New York     Westchester County   Wilmington          Towson
           Pennsylvania       Pennsylvania      New York         New York          Delaware           Maryland
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         ● The pre-trial conference will be held on a date after October 2, 2017.



                                                      Respectfully Submitted,

                                                      MARKS, O’NEILL, O’BRIEN,
                                                      DOHERTY & KELLY, P.C.

                                                      /s/ Christian M. Scheuerman, Esquire
                                                      Christian M. Scheuerman, Esquire

CMS/jd
Cc:   Lewis Perling, Esquire (via ECF)
      Andrew M. Milz, Esquire (via ECF)




{NJ753667.1}
